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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                Case No. 4:12-cr-00306-1 KGB

TARIK SHAWN BOUHAMIDI                                                            DEFENDANT

                                            ORDER

       Before the Court is a motion to dismiss the forfeiture allegation as to Tarik Shawn

Bouhamidi filed by the United States (Dkt. No. 805). Mr. Bouhamidi was charged with, among

other things, a drug-trafficking offense. The second superseding indictment included a forfeiture

allegation pursuant to 21 U.S.C. § 853, giving notice of the intent of the United States to seek at

sentencing the forfeiture of all proceeds of Mr. Bouhamidi’s drug-trafficking offense. The

United States represents that it no longer intends to pursue a money judgment against Mr.

Bouhamidi.

       The Court grants the United States’s motion to dismiss the forfeiture allegation as to Mr.

Bouhamidi; the forfeiture allegation as to Mr. Bouhamidi is dismissed.

       IT IS SO ORDERED this 13th day of November 2015.




                                                 Kristine G. Baker
                                                 United States District Judge
